Case 2:19-bk-14989-WB   Doc 609-8 Filed 02/19/20 Entered 02/19/20 17:59:56   Desc
                              Exhibit Page 1 of 2




                         EXHIBIT H
Case 2:19-bk-14989-WB   Doc 609-8 Filed 02/19/20 Entered 02/19/20 17:59:56       Desc
                              Exhibit Page 2 of 2



                                     Exhibit H


                         Scoobeez’ Ratings Across All Its Delivery Stations
         Rating
                             June 24, 2019 through February 9, 2020
      Great                                  35.52%
      Fantastic                              10.58%
      Fantastic Plus                         36.02%
      TOTAL                                  82.12%




                           Percent of Scoobeez’        Number of Scoobeez’
         Week Ending       Stations Rated Great       Stations Rated Fantastic
                                 or Better                or Fantastic Plus
             9/22/19                92%                           6
             9/29/19                92%                           6
             10/6/19                92%                           6
            10/13/19                92%                           8
            10/20/19               100%                           7
            10/27/19               100%                           7
             11/3/19               100%                           6
            11/10/19                92%                           5
            11/17/19               100%                           9
            11/24/19               100%                          11
             12/1/19               100%                           9
             12/8/19               100%                           7
            12/15/19                92%                           5
            12/22/19               100%                           6
            12/29/19               100%                           9
              1/5/20               100%                           6
             1/12/20               100%                          10
             1/19/20               100%                          10
             1/26/20               100%                           9
              2/2/20               100%                           7
              2/9/20               100%                          12
